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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          EDCV 20-1510-GW-SHKx                                          Date      October 5, 2020
 Title             James Rutherford v. The CVRC Company LLC, et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                            None Present
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                         None Present                                          None Present
 PROCEEDINGS:                 IN CHAMBERS - ORDER TO SHOW CAUSE RE SETTLEMENT


On October 1, 2020, Plaintiff James Rutherford filed a Notice of Settlement. The Court vacates all
deadlines and sets an order to show cause re settlement hearing for November 16, 2020 at 8:30 a.m.
Parties are advised the hearing will be vacated provided a dismissal is filed by noon on November 12,
2020.




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                                                               Initials of Preparer   JG
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